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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

 UNITED STATES OF AMERICA

              v.                                       No. 1:23-cr-00082-JAW

 AARON D. HOSTER



                            REVISED PROSECUTION VERSION

         The Scheme

         Between about June 16, 2021 and April 24, 2023, at Home Depot and Lowes

stores throughout Maine, the Defendant AARON D. HOSTER engaged in “ticket-

switching,” where he would remove a Universal Product Code (UPC) from a relatively

low-priced item and apply it over the UPC of a higher-priced item. Then, at the self-

service checkout, the Defendant would scan the UPC of the low-priced item but depart

the store with the high-priced item. The Defendant paid for these items using his

debit/credit card. At both Lowes and Home Depot, the banking information entered via

the debit/credit card in Maine was transferred to data servers outside the state of Maine

for processing before being returned to the register in Maine.

         For the purpose of executing this scheme and in furtherance of this scheme, the

Defendant knowingly caused an interstate wire communication to be used for each of

the transactions during the period of the scheme. In total, the scheme involved 160 such

wires totaling $51,269.61 in losses. Two of those wire communications are described

below.




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       Count One

       On August 11, 2022, in the District of Maine and elsewhere, the Defendant

AARON D. HOSTER, knowingly devised, intended to devise, and participated in a

scheme and artifice to defraud Home Depot, as to material matters, and to obtain

money and property by means of materially false and fraudulent pretenses,

representations, and promises, by knowingly transmitting and causing to be transmitted

by means of wire communication in interstate commerce any writings, signs, signals and

sounds for the purpose of executing such scheme and artifice.

       Specifically, on this date, at the Home Depot in Topsham, Maine, for the purpose

of executing the scheme to defraud described above, the Defendant scanned a UPC for a

Dewalt .80 x 225 Ft Trimmer Line, valued at $19.98, and paid electronically by using a

debit card. The actual item purchased by the Defendant was a DeWalt 20 volt 16 gauge

cordless finish nailer kit valued at $439.00. As a result of the Defendant’s use of his

debit card to pay for the transaction, the Home Depot transmitted transaction

information via point-of-sale terminals to locations out of state.

       Count Two

       On about March 13, 2023, in the District of Maine and elsewhere, the Defendant

AARON D. HOSTER, knowingly attempted to devise, intended to devise, and

participated in a scheme and artifice to defraud Home Depot, as to material matters,

and to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises, by knowingly transmitting and causing to be

transmitted by means of wire communication in interstate commerce any writings,

signs, signals and sounds for the purpose of executing such scheme and artifice.

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       Specifically, on this date, at the Home Depot in Waterville, Maine, for the

purpose of executing the scheme to defraud described above, the Defendant scanned a

UPC for an Oatey 1-1/4” chrome plated plastic tailpiece with sink drain stop and

overflow plug, valued at $11.36, and paid using a debit card. After paying for the item,

the Defendant was confronted by store security. The Defendant abandoned his cart as

he exited the store. The item he purchased was a Ridgid K-45 powered drain cleaner

valued at $429.00. As a result of the Defendant’s use of his debit card to pay for the

transaction, the Home Depot transmitted transaction information via point-of-sale

terminals to locations out of state.


Dated: September 8, 2023                         DARCIE N. MCELWEE
                                                 United States Attorney



                                                 BY: /s/ ANDREW McCORMACK
                                                 ANDREW MCCORMACK
                                                 Assistant United States Attorney




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